 ANDERSON & KARRENBERG                              BOIES SCHILLER FLEXNER LLP
 THOMAS R. KARRENBERG (#3726)                       SCOTT E. GANT
 JARED SCOTT (#15066)                               1401 New York Ave., NW
 50 West Broadway, Suite 700                        Washington, DC 20005
 Salt Lake City, UT 84101                           Telephone: 202/237-2727
 Telephone: 801/534-1700                            202/237-6131 (fax)
 801/364-7697 (fax)                                   and
                                                    CARL GOLDFARB
 ROBBINS GELLER RUDMAN                              401 East Las Olas Blvd., Suite 1200
   & DOWD LLP                                       Fort Lauderdale, FL 33301
 DAVID W. MITCHELL                                  Telephone: 954/356-0011
 BRIAN O. O’MARA                                    954/356-0022 (fax)
 STEVEN M. JODLOWSKI
 655 West Broadway, Suite 1900
 San Diego, CA 92101
 Telephone: 619/231-1058
 619/231-7423 (fax)

                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION


J. Thompson, et al., Individually and on Behalf )    No. 2:16-cv-01183
of All Others Similarly Situated,               )
                                                )    CLASS ACTION
                              Plaintiffs,       )
                                                )    Judge: Hon. Tena Campbell
        vs.                                     )
                                                )    Magistrate Judge: Hon. Dustin B. Pead
1-800 Contacts, Inc., et al.,                   )
                                                )
                              Defendants.       )
                                                )


                         NOTICE OF FILING STIPULATION AND
                          [PROPOSED] PROTECTIVE ORDER

       Plaintiffs, by and through undersigned counsel, hereby provide this notice of filing of the

parties’ agreed Stipulation and [Proposed] Protective Order, attached hereto as Ex. A.

 DATED: August 28, 2018                      RESPECTFULLY SUBMITTED,


                                             BOIES SCHILLER FLEXNER LLP
                                             CARL E. GOLDFARB (Admitted Pro Hac Vice)


                                                              /s/ Carl E. Goldfarb
                                                             CARL E. GOLDFARB
                                               -1-
                                              401 East Las Olas Blvd., Suite 1200
                                              Fort Lauderdale, FL 33301
                                              Telephone: 954/356-0011
                                              954/356-0022 (fax)

                                              BOIES SCHILLER FLEXNER LLP
                                              SCOTT E. GANT (Admitted Pro Hac Vice)
                                              1401 New York Ave., NW
                                              Washington, DC 20005
                                              Telephone: 202/237-2727
                                              202/237-6131 (fax)

                                              Steven M. Jodlowski
                                              David W. Mitchell
                                              Brian O. O’Mara
                                              655 West Broadway, Suite 1900
                                              San Diego, California 92101
                                              Telephone: (619) 231-1058
                                              Fax: (619) 231-7423

                                              Jared Scott (Bar No. 15066)
                                              50 West Broadway, Suite 700
                                              Salt Lake City, Utah 84101
                                              Telephone: (801) 534-1700
                                              Fax: (801) 364-7697

                                              Attorneys for Plaintiffs


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 28, 2018, I caused a true and correct copy of the

NOTICE OF FILING STIPULATION AND [PROPOSED] PROTECTIVE ORDER to be

served via CM/ECF to all counsel of record.



                                              /s/Carl E. Goldfarb
                                              Carl E. Goldfarb




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